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                 IN THE UNITED STATES DISTRICT COURT
               FOR THE WESTERN DISTRICT OF OKLAHOMA

TAMMY ROBERTS,             )
                           )
    Plaintiff;             )
                           )
vs.                        )                   Case No. CIV-2017- 131-M
                           )
CIMARRON MEMORIAL HOSPITAL )                   JURY TRIAL DEMANDED
                           )                   ATTORNEY LIEN CLAIMED
and                        )
                           )
NEWLIGHT HEALTHCARE LLC    )
                           )
    Defendants.            )

                                    COMPLAINT

      Plaintiff, Tammy Roberts, by and through her counsel, Christine C. Vizcaino,

hereby complains against Cimarron Memorial Hospital and NewLife Healthcare

LLC(“Defendants”).

                                      PARTIES

  1. Plaintiff, Tammy Roberts, an adult female, is an individual citizen and resident of

     the United States and the State of Oklahoma.

  2. The Defendants are:

             a. Cimarron Memorial Hospital, a for profit hospital doing business in

                Boise City, Oklahoma.

             b. NewLight Healthcare LLC, a limited liability company doing business

                in Boise City, Oklahoma.
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                           PRELIMINARY STATEMENT

3. Plaintiff asserts claims pursuant to the Americans with Disabilities Act as set forth

   in 42 U.S.C. §12101 et seq. (hereinafter “ADA”), for discrimination based upon her

   disability and retaliation for requesting a reasonable accommodation. Plaintiff also

   brings a state law claim for handicap discrimination (disability discrimination) as

   prohibited by the Oklahoma Anti-Discrimination Act (hereinafter “OADA”), see

   25 O.S. §1101 et seq.

4. Plaintiff asserts claims pursuant to the Genetic Information Nondiscrimination Act

   of 2008 for discrimination based upon her genetic health information.

5. Plaintiff asserts claims pursuant to the Employee Retirement Income Security Act

   of 1974 (hereinafter “ERISA”), for retaliation based upon her protected complaints

   of Defendants’ prohibited transactions and breach of fiduciary responsibility.

                           JURISDICTION AND VENUE

6. The jurisdiction of this Court is invoked pursuant to 28 U.S.C. §§1331 and 1343,

   42 U.S.C. § 12117(a). Plaintiff also brings pendent state law claims. This Court

   also has jurisdiction over the state law claims pursuant to 28 U.S.C. § 1367(a).

7. Jurisdiction for this action is further authorized in this Court pursuant to section

   207(a) of GINA, 42 U.S.C. § 2000ff-6(a), which incorporates by reference section

   706(f)(3) of Title VII of the Civil Rights Act of 1964 (“Title VII”), 42 U.S.C. §

   2000e-5(f)(3).




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8. Venue in this district is proper pursuant to 28 U.S.C. § 1391 and 42 U.S.C. §

   2000ff-6(a), because Defendant operates in this district and the unlawful conduct

   giving rise to the claims occurred in this district.

9. Declaratory, injunctive, and equitable relief is sought pursuant to 28 U.S.C. §§2201

   and 2202, 42 U.S.C. §12117(a) and 42 U.S.C. §2000e-5(g). Compensatory,

   liquidated and punitive damages are also sought.

10. Costs and attorney's fees may be awarded pursuant to 42 U.S.C. §2000e-5, 42

   U.S.C. §12205and Fed. R. Civ. P. 54.

                            CONDITIONS PRECEDENT

11. Plaintiff timely filed a charge of discrimination with the Equal Employment

   Opportunity Commission (“EEOC”) on or about April 24, 2016. This charge was

   EEOC charge number 564-2016-640. Plaintiff was issued a notice of right to sue

   dated November 10, 2016, and this lawsuit is filed within ninety (90) days of

   Plaintiff’s receipt of such notice.

12. Plaintiff timely filed a second charge of discrimination with the Equal Employment

   Opportunity Commission (“EEOC”) on or about February 8, 2017. Although

   Plaintiff has yet to receive a right to sue letter for this charge, she intends to timely

   amend her pleading upon receipt.

13. Plaintiff has exhausted her administrative remedies under federal and state law.

            STATEMENT OF FACTS/GENERAL ALLEGATIONS

14. Each of the Defendants is a common employer of the Plaintiff. Plaintiff received

   her paychecks from Cimarron Memorial Hospital, however, Cimarron Memorial

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   Hospital is managed and operated by NewLight Healthcare, Plaintiff was

   supervised by employees of NewLight Healthcare, and the termination decision for

   Plaintiff was made by NewLight Healthcare.

15. Plaintiff worked at Cimarron Memorial Hospital from approximately December

   2000 until July 2016.

16. At all times while employed with Defendants, Plaintiff was qualified for the

   position she held.

17. Plaintiff satisfactorily performed her job duties during her employment with

   Defendants.

18. To Plaintiff’s understanding, Plaintiff’s job and/or job duties continued to exist

   after her termination.

19. During the course of Plaintiff’s employment, Plaintiff participated in Defendants’

   employee benefits program and has therefore been a Health Plan “participant”

   within the meaning of § 3(7) of ERISA, 29 U.S.C. 1002(7).

20. Around May 2015, Plaintiff tested positive for BRCA2 Cancer Mutation gene and

   was diagnosed with early onset BRCA2.

21. Plaintiff notified Defendants of her diagnosis and her need for an accommodation

   in the form of medical leave so that she could attend doctor’s appointments and

   medical treatments, which leave was protected by the ADA.

22. Plaintiff’s supervisor, Barbara Carter, attempted to discourage Plaintiff from having

   surgery; however, it was medically necessary for Plaintiff to do so.



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23. Shortly thereafter, Plaintiff was required to take intermittent medical leave in order

   to obtain medical testing, treatment and surgical procedures related to her cancer

   diagnosis.

24. While Plaintiff was out on medical leave, she received harassing phone calls from

   her supervisor, Barbara Carter, Director of Nursing, in which Ms. Carter threatened

   the Plaintiff that she would be fired if she did not obtain a medical release and

   return to work.

25. Plaintiff reported Ms. Carter’s behavior to Tim Beard, CEO, but no corrective

   action was taken.

26. On or about January 13, 2016 Plaintiff turned in a time off request form for the

   month of February to Ms. Carter.

27. Ms. Carter denied Plaintiff’s request for time off and advised Plaintiff that the

   reason for such denial was because the schedule had already been made and

   Plaintiff was scheduled for the night shift on February 12, 13, and 14.

28. When Plaintiff questioned Ms. Carter about being scheduled for night shifts when

   she was a day shift nurse, Ms. Carter informed Plaintiff that she and Mr. Beard had

   made the decision that Plaintiff needed to work those shifts because she “owed

   them” for being on medical leave.

29. On or about January 13, 2016, Plaintiff received a call from the hospital scheduled

   to perform her upcoming surgery on January 18, 2016. Plaintiff was notified that

   the facility was unable to obtain a prior authorization from her insurance company,



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   Blue Cross Blue Shield, because her medical insurance premiums had not been

   paid since November 2015.

30. Immediately thereafter, Plaintiff confronted Mr. Beard about Defendants’ failure to

   pay her insurance premiums.

31. Mr. Beard advised Plaintiff that she “needed to keep [her] mouth shut and not

   worry about it”. Mr. Beard also informed Plaintiff that he had used the money to

   pay other bills and that Defendant would pay the premiums when it had the money

   to do so.

32. Plaintiff protested Defendants’ conduct and informed Mr. Beard of her belief that

   his behavior was illegal and of her intent to file a complaint with the department of

   labor regarding this matter.

33. As a result of Plaintiff’s surgery on January 18, 2016, she was required to remain

   off work until around January 27, 2016.

34. While Plaintiff was out on medical leave in January of 2016, she received notice

   from Aflac that the Defendants had not paid her premiums for this policy either.

35. After being released from her physician around January 27, 2016, Plaintiff returned

   to work on or about January 28, 2016.

36. On January 28, 2016 Plaintiff was disciplined by Mr. Beard, and placed on a ninety

   (90) day suspension without pay for allegedly submitting a false doctor’s release.

37. The reasons for Plaintiff’s suspension were false and pretextual in that Plaintiff had

   not submitted a false doctor’s release and despite having Plaintiff’s doctor’s office



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   personally contact the Defendants to explain the situation and clear up any

   confusion, Defendants refused to rescind Plaintiff’s suspension.

38. On or about February 7, 2016 Plaintiff submitted a written complaint to the Board

   of Directors regarding the unlawful conduct of Mr. Beard and Ms. Carter, including

   Defendants prohibited transactions and breach of fiduciary responsibility.

39. In retaliation for submitting the above complaint, Ms. Carter notified Plaintiff that

   she would be moved to the night shift and only allowed to work two nights per

   week upon her return from suspension.

40. Plaintiff protested Ms. Carter’s decision, complained of retaliation, and requested

   that she be permitted to return to her previous work conditions.

41. Due to Defendants’ failure to address Plaintiff’s concerns, Plaintiff filed a Charge

   of Discrimination with the Equal Employment Opportunity Commission (“EEOC”)

   around April 24, 2016.

42. In retaliation for reporting Defendants’ unlawful conduct, Defendants began to

   reduce Plaintiff’s work hours and shift assignments until she was ultimately no

   longer scheduled for any shifts around July 2016

43. Plaintiff’s employment was effectively terminated around July 2016.

44. Motivating factors in the decisions to suspend, demote and subsequently terminate

   the Plaintiff, were due to Plaintiff’s disability, genetic information and complaints

   of disability discrimination in violation of the ADA and state law, with another

   significant factor being retaliation for her protected activity in reporting

   Defendants’ breach of fiduciary duty and prohibited transactions and filing

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   complaints in response to receiving such unlawful treatment. At the least, these

   factors were part of a group of mixed motives for such decision such that Plaintiff

   is entitled to protection under the mixed motive doctrine.

45. As a result of Defendant’s actions, Plaintiff has sustained loss of employment, loss

   of career path, loss of opportunity, loss of wages, loss of fringe benefits, and other

   compensation; and consequential and compensatory damages including, but not

   limited to, those for humiliation, loss of dignity, loss of enjoyment of life, worry,

   stress, and anxiety.

46. Furthermore, as a result of Defendant’s actions against her, Plaintiff has

   experienced a great deal of emotional distress.

47. All adverse actions taken by the Defendant against Plaintiff were intentional,

   willful, malicious, and/or with reckless disregard for the legal rights of Plaintiff.

                                  COUNT I
   Discrimination Based Upon Disability in Violation of the American’s with
                   Disabilities Act 42 U.S.C. §12101 et seq.

48. Plaintiff reasserts and incorporates the paragraphs set forth above as if fully

   restated herein.

49. Each Defendant is an “employer” under the Americans with Disabilities Act and

   employs more than fifteen (15) employees.

50. At all times relevant hereto, Plaintiff was a qualified individual as defined by 42

   U.S.C. §12111(8).




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51. Plaintiff suffers from serious medical conditions and disabilities as defined under

   the Americans with Disabilities Act in that these conditions, substantially interfere

   with her major life activities in the following ways:

           a. Affects her normal bodily functions in cell growth and cell

              development; and

           b. Resulted in a period of incapacitation and continuing medical treatment;

           c. Without remedial measures would cause Plaintiff to be unable to care

              for herself and could lead to her death.

52. As a result of the limitations set out in Para. 51, above, Plaintiff suffers from a

   disability as defined by the ADA Amendments Act (ADAAA), 42 U.S.C. §

   12102(1)(A), (2)(B), in that she suffers from a condition which materially impairs

   major life activities and bodily functions, and/or is regarded as having such

   impairment, as defined by 42 U.S.C. § 12102(1)(C), (3).

53. At the least, the Defendants perceived Plaintiff to have a disability for reasons

   including that Defendant, through its agents had communications regarding

   Plaintiff’s medical condition and medical treatment.

54. Defendant’s   willful   and   malicious   misconduct     as   described   above,   in

   discriminating against Plaintiff based upon her disability is in clear violation of the

   American’s with Disabilities Act, as amended by the American’s with Disabilities

   Act Amendments Act of 2008.

55. Plaintiff’s disability was a motivating factor in Defendants’ adverse employment-

   related actions described above, including without limitation, discriminating

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   against Plaintiff and ultimately terminating Plaintiff. Defendants violated Plaintiff’s

   civil rights by taking such adverse actions.

56. As a result of Defendants’ illegal conduct, Plaintiff has suffered losses, injury, and

   damages, as set forth above.

57. Plaintiff is entitled to and seeks all legal and equitable remedies provided to a

   prevailing plaintiff under the ADA, including, without limitation: back pay, front

   pay, compensatory and punitive damages, as well as appropriate declaratory and

   injunctive relief.

58. Plaintiff is also entitled, under 42 U.S.C. § 2000e-5(k) and 42 U.S.C. §12205, to

   recover attorney fees and costs incurred in pursuing this claim.

                                  COUNT II
Discrimination Based on Handicap/Disability in Violation of The Oklahoma Anti-
                   Discrimination Act , 25 O.S. §1101 et. seq.

59. Plaintiff incorporates the paragraphs as set forth above as if fully restated herein.

60. The Oklahoma Anti-Discrimination Act (“OADA”), 25 O.S. §1101 et. seq. sets

   forth a clear and unequivocal public policy regarding discrimination in employment

   in Oklahoma.

61. The conduct complained of by the Plaintiff and perpetrated by the Defendants are a

   direct violation of the OADA which prohibits discrimination based upon disability.

62. The State of Oklahoma provides a remedy for those wrongfully discharged in

   violation of public policy, in the instant case—for discriminatory reasons. Plaintiffs

   are allowed to recover damages for violations of 25 O.S. §1302 through

   Oklahoma’s recently enacted cause-of-action provision contained in 25 O.S. §1350.

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63. As a result of Defendants’ discriminatory and retaliatory actions against Plaintiff,

   she has suffered the losses and damages described above.

64. As such, Plaintiff is entitled to recover from Defendant all backpay and liquidated

   damages, pursuant to 25 O.S. §1350.

                                         COUNT III
    Discrimination Based on The Genetic Information Nondiscrimination Act
                                   of 2008


65. Plaintiff incorporates the paragraphs as set forth above as if fully restated herein.

66. The Genetic Information Nondiscrimination Act of 2008 prohibits employers from

   discriminating against employees on the basis of genetic information.

67. Defendants are now, and at all times relevant hereto, have been an employer

   engaged in an industry affecting commerce within the meaning of §201 (2) (B) (i)

   of the GINA, 42 U.S.C.§2000ff(2)(B)(i), all of which incorporate by reference

   Sections 701(b), (g) and (h) of Title VII, 42 U.S.C. §§ 2000e(b), (g) and (h).

68. Plaintiff was an employee within the meaning of §201 (2) (A) (i) of the GINA, 42

   U.S.C.§2000ff(2)(A)(i), which incorporates by reference of § 701(f) of Title VII,

   42 U.S.C. §§ 2000e(f).

69. Prior to her termination, Plaintiff notified Defendants that she was diagnosed with a

   genetic disability.

70. Shortly after learning of Plaintiff’s disability, Defendants began to discriminate and

   retaliate against the Plaintiff in violation of Plaintiffs’ rights under the Genetic

   Information Nondiscrimination Act of 2008, 42 U.S.C. §2000ff et seq.

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71. As a result of Defendants’ illegal conduct, Plaintiff has suffered losses, injury, and

   damages, as set forth above.

72. Plaintiff is entitled to and seeks all legal and equitable remedies provided under §

   207 of the GINA.

                                    COUNT IV
 Retaliation in violation of Employee Retirement Income Security Act of 1974,
                           Section 510, 29 U.S.C. § 1140


73. Plaintiff incorporates the paragraphs as set forth above as if fully restated herein.

74. On information and belief, Cimarron Memorial Hospital, NewLight Healthcare

   and/or one of its corporate entities is the fiduciary plan sponsor for the health

   benefits plan (“Health Plan”) offered to its employees in which the Plaintiff

   participated.

75. As fiduciaries to the Health Plan, Defendants owed fiduciary duties to the Health

   Plan and its Participants, as set forth in §§404, 405, 406, and 408 of ERISA, 29

   U.S. §§ 1104, 1105, 1106, and 1108.

76. Defendants grossly and deliberately breached their fiduciary duties by their failure

   to remit deducted employee contributions to the Health Plan, and diverting those

   plan assets to other corporate and/or personal purposes. In so doing, Defendants

   failed to discharge their fiduciary duties solely in the interest of the participants and

   beneficiaries of the Health Plan, for the exclusive purpose of providing benefits to

   the participants and beneficiaries of the Health Plan, and in accordance with the

   documents and instruments governing the Health Plan, all in violation of §


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   404(a)(1)(B), 29 U.S.C. §1104(a)(1)(B), and regulations found at 26 CFR 54.9815-

   2715(b).

77. By diverting, or permitting or allowing diversion of, employee contributions to the

   Health Plan to corporate and/or personal purposes, Defendants dealt with the assets

   of the Health Plan in their own interests, or for their own account, in violation of

   ERISA §406(b)(1), 29 U.S.C. §1106(b)(1). By this conduct, Defendants engaged in

   prohibited transactions under ERISA.

78. Plaintiff objected to and/or complained to Defendants about violations of ERISA,

   including but not limited to, engaging in prohibited transactions in violation of §

   and breach of fiduciary duties.

79. Plaintiff was retaliated against and ultimately terminated for pretextual reasons

   within a short period of time following her reporting activities.

80. A motivating factor in Plaintiff’s termination was her aforesaid inquiries,

   objections, and/or complaints about ERISA violations.

81. Plaintiff’s termination for engaging in protected activity therefore constitutes a

   violation of ERISA, Section 510.

82. As a result of Defendant’s illegal conduct, Plaintiff has suffered losses, injury, and

   damages, as set forth above.

83. Plaintiff is entitled to recover all actual and compensatory damages, including, but

   not limited to, damages for back pay, front pay, humiliation, loss of dignity, loss of

   enjoyment of life, worry, stress, intentional infliction of emotional distress and

   anxiety resulting from her wrongful discharge.

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  84. Plaintiff is also entitled to recover attorneys fees and costs incurred in pursuing this

      claim.

                                PRAYER FOR RELIEF

   WHEREFORE, it is respectfully prayed that this Court grants to the Plaintiff the

following relief:

       a. Back pay, in amounts to be determined at trial;

       b. Liquidated damages;

       c. Punitive damages;

       d. Compensatory damages;

       e. Injunctive and/or declaratory relief;

       f. Pre-judgment and post-judgment interest at the highest lawful rate;

       g. Attorneys' fees and costs of this action, including expert witness fees, as

       appropriate;

       h. That Defendants be enjoined and restrained from engaging in further

       discriminatory conduct; and

       i. Any such further relief as justice allows.

                             DEMAND FOR JURY TRIAL

       Plaintiff hereby requests trial by jury of all issues triable by jury under Oklahoma

and Federal law.




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RESPECTFULLY SUBMITTED THIS 8th DAY OF FEBRUARY, 2017.

                            s/Christine C. Vizcaino
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